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                                    United States District Court
                                     Eastern District of Texas
                                         Sherman Division

Siemens Product Lifecycle Management
Software, Inc.,                                     Civil Action No.
                       Plaintiff,

v.                                                  JURY TRIAL DEMANDED

BTL Machine, Inc.,

                       Defendant.




             PLAINTIFF’S ORIGINAL COMPLAINT FOR COPYRIGHT INFRINGEMENT



        Plaintiff Siemens Product Lifecycle Management Software, Inc. (“Plaintiff”), by and

through its attorneys, for and on behalf of its complaint against Defendant BTL Machine, Inc.

(“Defendant”), hereby alleges as follows:

                                     JURISDICTION AND VENUE

        1.     This is a civil action seeking damages and injunctive relief for copyright

infringement under the copyright laws of the United States (17 U.S.C. § 101, et seq.).

        2.     This Court has jurisdiction of this action pursuant to 17 U.S.C. § 101, et seq.; 28

U.S.C. § 1331 (federal question); and 28 U.S.C. § 1338(a) (copyright).

        3.     Venue in this District is proper under 28 U.S.C. § 1391(b) and/or 28 U.S.C. §

1400(a) because a substantial part of the acts of infringement complained herein occurred in this

District. Upon information and belief, personal jurisdiction in this District is proper because the

Defendant, without consent or permission of the copyright owner and knowing that the copyright

owner was located in this District, illegally used Plaintiff’s software causing injury to Plaintiff in

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this District.

                                              PARTIES

        4.       Plaintiff Siemens Product Lifecycle Management Software, Inc. is a corporation

duly organized and existing under the laws of the State of Delaware, with its principal place of

business in Plano, Texas.

        5.       On information and belief, Defendant BTL Machine, Inc. is a limited liability

company existing under the laws of the state of California with its principal place of business in

Corona, California.

                                             COUNT I
                                   (Infringement of Copyrights)

        6.       Plaintiff incorporates herein by reference each and every allegation contained in

each paragraph above.

        7.       Plaintiff manufactures and distributes Product Lifecycle Management (“PLM”)

software, which allows companies to manage the entire lifecycle of a product efficiently and

cost-effectively, from ideation, design and manufacture, through service and disposal. PLM

software brings together computer-aided design (“CAD”), computer-aided manufacturing

(“CAM”), computer-aided engineering (“CAE”), product data management (“PDM”) and digital

manufacturing. By providing the application depth and breadth needed to digitally author,

validate and manage the detailed product and process data, PLM supports innovation by its

customers.

        8.       NX 8 software is among the PLM software products offered by Plaintiff. NX 8

software offers a broad suite of integrated, fully associative CAD/CAM/CAE applications. NX 8

touches the full range of development processes in product design, manufacturing and

simulation, allowing companies to encourage the use of best practices by capturing and reusing



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product and process knowledge.

       9.      Plaintiff’s PLM software constitutes and contains Plaintiff’s valuable intellectual

property that has been developed over many years through the investment of substantial

resources. To protect its rights and interests in its valuable software, including but not limited to

NX 8 software, Plaintiff obtains and registers copyrights to its works. Plaintiff is, and at all

relevant times has been, the copyright owner under United States copyright law with respect to

certain copyrighted software including, but not limited to, the NX 8 software (the “Copyrighted

Software”). The Copyrighted Software is the subject of valid Copyright Registrations issued by

the Register of Copyrights to Plaintiff. A copy of Copyright Registration Number TXu 1-769-

323, dated August 8, 2011, which covers the NX 8 software is attached hereto as Exhibit A.

       10.     Plaintiff has placed proper notices of copyright pursuant to 17 U.S.C. § 401 on the

Copyrighted Software.

       11.     Among the exclusive rights granted to Plaintiff under the Copyright Act are the

exclusive rights to reproduce the Copyrighted Software and to distribute the Copyrighted

Software to the public.

       12.     After determining that Defendant was using Plaintiff’s PLM software without a

license, Plaintiff, on or about October 2013, notified Defendant of its infringement and

demanded that Defendant cease its illegal activities.

       13.     Defendant’s actions constitute infringement of Plaintiff’s copyrights and/or

exclusive rights under copyright.

       14.     Plaintiff is informed and believes that the foregoing acts of infringement have

been willful, intentional, and in disregard of and with indifference to the rights of Plaintiff.

       15.     As a result of Defendant’s infringement of Plaintiff’s copyrights and exclusive




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rights under copyright, Plaintiff is entitled to statutory damages pursuant to 17 U.S.C. §§ 502 and

503.

        16.     As a result of Defendant’s infringement of Plaintiff’s copyrights and exclusive

rights under copyright, Plaintiff is entitled to actual damages according to proof.

        17.     As a result of Defendant’s infringement of Plaintiff’s copyrights and exclusive

rights under copyright, Plaintiff is entitled to an accounting of Defendant’s use and/or

downloading of the Copyrighted Software and an accounting and recovery of revenues and

profits obtained by Defendant by or through such use and/or downloading of such software.

        18.     As a result of Defendant’s infringement of Plaintiff’s copyrights and exclusive

rights under copyright, including willful and intentional infringement, Plaintiff is also entitled to

enhanced damages and recovery of its attorneys’ fees and costs.

        19.     As a result of Defendant’s infringement of Plaintiff’s copyrights and exclusive

rights under copyright, Plaintiff is also entitled to injunctive relief prohibiting Defendant from

further infringing Plaintiff’s copyrights, and ordering that Defendant destroy all copies of

copyrighted software made in violation of Plaintiff’s exclusive rights.

                                    DEMAND FOR JURY TRIAL

        Plaintiff Siemens Product Lifecycle Management Software, Inc. hereby demands a trial

by jury on all triable issues.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

        1.      For an injunction providing:

                “Defendant shall be and hereby is enjoined from directly or indirectly infringing

                Plaintiff’s rights under federal or state law in the Copyrighted Software, whether




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              now in existence or later created, that is owned or controlled by Plaintiff Siemens

              Product Lifecycle Management Software, Inc. (or any parent, subsidiary, or

              affiliate of Plaintiff) (“Siemens PLMS’ Software”), including without limitation

              by using and/or downloading any of Siemens PLMS’ Software, except pursuant to

              a lawful license or with the express authority of Plaintiff. Defendant also shall

              destroy all copies of Siemens PLMS’ Software that the Defendant has used and/or

              downloaded onto any computer hard drive or server without Plaintiff’s

              authorization and shall destroy all copies of that downloaded software transferred

              onto any physical medium or device in Defendant’s possession, custody, or

              control.”

       2.     For statutory damages for each infringement of each Copyrighted Software

pursuant to 17 U.S.C. § 504;

       3.     For actual damages according to proof;

       4.     For an accounting of the use and/or download by Defendant of the Copyrighted

Software;

       5.     For an accounting of any revenues and profits realized by or through Defendant’s

use and/or download of the Copyrighted Software;

       6.     For enhanced damages;

       7.     For Plaintiff’s costs in this action;

       8.     For Plaintiff’s reasonable attorneys’ fees incurred herein; and

       9.     For such other and further relief as the Court may deem just and proper.




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DATED: August 5, 2014                  Respectfully submitted,

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